                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION




RICKY SILVER,                                         1
                                                      )
                       Petitioner,                    )
                                                      )
               v.                                     )              ORDER
                                                      1
UNITED STATES OF AMERICA,                             )
                                                      )
                       Respondent.                    )
                                                      )



       This matter is before the Court on Government's Renewed Motion to Dismiss or for

Summary Judgment on Petitioners 28 U.S.C tj 2255, Motion to Vacate, Set Aside or Correct

Sentence. The only remaining issue is Petitioner's claim that resentencing counsel failed to file

an appeal upon Petitioner's request. Petitioner was informed by Roseboro letter that the

Government's Motion would be treated as a Summary Judgment, pursuant to Rule 56 of the

Federal Rules of Civil Procedure, and as such, Petitioner must support his allegations with

affidavits or other evidence to show that a genuine issue of material fact exists. In response

to Petitioner's claims of ineffective assistance of counsel, the Government filed an affidavit of

the resentencing attorney, who stated that Petitioner never requested such an appeal. Petitioner

was directed to file a response by July 12,2006. On August 25,2006, when Petitioner failed to

respond, this Court ordered that the Petitioner respond within thirty days, or the Governments

unopposed Motion for Summary Judgment would be granted. To date, Petitioner has not

responded, leaving no genuine issue of material fact, and no need for an evidentiary hearing.



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    Government's Motion for Summary Judgment is GRANTED.
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                               /
          SO ORDERED, this 15 day of November, 2006.




                                         T E F ~ E N C EW. BOYLE
                                         UNITED STATES DISTRICT




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